831 F.2d 1057Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Robert LAY, Plaintiff-Appellant,v.CIRCUIT COURT OF FAIRFAX COUNTY, Defendant-Appellee.
    No. 87-7047.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1987.Decided Oct. 22, 1987.
    
      John Robert Lay, appellant pro se.
      Before SPROUSE, ERVIN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Lay v. Circuit Court of Fairfax County, C/A No. 87-128-AM (E.D.Va., Feb. 11, 1987).
    
    AFFIRMED
    